   Case 5:19-cv-02499-PSG-KK Document 132 Filed 04/21/21 Page 1 of 4 Page ID #:2297
    Case                                                                     ?158



         1   NICK S. PUJJI(SBN 259571)
             nick.pujji@dentons.com
         2   JACQUELINE M. WHIPPLE(Pro Hac Vice Applicant)
             jacqueline.whipple@dentons.com
         3   CAROL YUR(SBN 290145)                                   FILED
                                                          CLERK, U.S. DISTRICT COURT
             carol.yur@dentons.com
         4   DENTONS US LLP
         5   601 South Figueroa Street, Suite 2500             ~R 2 ~ 2Q2~
             Los Angeles, California 90017-5704
         6   Telephone: (213)623-9300                                 Ricr of ca~~F::r.~~,a
                                                         CENT
             Facsimile: (213)623-9924                    BY                       C ~_"~.Jl"Y
         7
             Attorneys for former Defendant                              ~C-~ ~Z~-C
         8   and Counter Plaintiff
             DENISE WILSON
         9
        10                       UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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  so
ago
a ~Qo   12 ~ JAMES D. McCOOL,                          No. 5:19-CV-02499-PSG
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   oM                           Plaintiff,
        13                                             Assigned to: Hon. Philip S. Gutierrez
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o ~~~
        14         v.                                  Courtroom: 6A
Q w~~
 ~7     ~~   ALLEN MATKINS LECK GAMBLE [P           SED]ORDER GRANTING
 ~~          MALLORY & NATSIS, LLP; CLARK F RMER DEFENDANT AND
 ~~     16   LIBENSON; and DOES 1 through 10, COUNTER PLAINTIFF DENISE
             inclusive,
        17                                    WILSON'S APPLICATION FOR
                            Defendants.       LEAVE TO FILE UNDER SEAL
        18
                                                       Local Civil Rule 79-5.2.2
        19
                                                      [Filed concurrently with Declaration
        20                                            of Nick Pujji, Declaration of Denise
                                                       Wilson, and Application]
        21
                                                       Date:       TBD by Court
        22                                             Time:       TBD by Court
                                                       Place:      Courtroom 6A (via video)
        23
        24                                             Complaint Filed: December 30, 2019
                                                       Counterclaim Filed: March 17, 2020
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             Case 5:}9-cv-02499-PSG-KK Document 126-3 Filed 04/14/21 Page 2 of 4 Page ID #:2159



                    1          TO ALL PARTIES HEREIN AND TO THEIR ATTORNEYS OF
                    2    RECORD:
                    3'         Having reviewed former Defendant and Counter Plaintiff Denise Wilson's
                    4    Application for Leave to File Under Seal, the accompanying Declarations on file
                    5    herein, and other pleadings and papers on file in this case, and good cause and
                6        compelling reasons appearing therefor, the Court hereby GRANTS Leave to file
                    7    and maintain under seal the following documents:
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                9                       ~v~u~a~en~C                         Part~ra(s~ ~~,B~ ~~t~~d .`

 00             10        Former Defendant and Counter                              Entirety
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  F l~          1         Plaintiff Denise Wilson's Notice of
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                1~        Motion and Motion to Enforce
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                13        Settlement, which analyzes and
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                14        discusses the terms of The Global
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                15        Confidential Settlement, Mutual
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  ~             16        Release, and Buyout Agreement(the
                17       "Agreement")entered into between
               18         Denise, Alan Robert Wilson, James D.
                19        McCool, and Desert Jet Holdings, LLC
               20         on May 27, 2020.
               21         The Declaration of Denise Wilson In                       Entirety
               22         Support of Her Motion to Enforce
               23         Settlement, which discusses the terms
               24         ofthe Agreement.
               25         Exhibit 1 to The Declaration of Denise                    Entirety
               26         Wilson In Support of Her Motion to
               27         Enforce Settlement, which is The
               28         Global Confidential Settlement,


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              Case 5:19-cv-02499-PSG-KK Document 132 Filed 04/21/21 Page 3 of 4 Page ID #:2299
               Case 5:~9-cv-02499-PSG-KK Document 126-3 Filed 04/14/21 Page 3 of 4 Page ID #:2160



                      1
                            Mutual Release, and Buyout
                      2
                            Agreement.
                      3 '
                            The Declaration of Nick S. Pujji In             Entirety
                      4
                            Support of Denise's Motion to Enforce
                      5
                            Settlement, which discusses the terms
                   6
                            ofthe Agreement.
                      7
                            Exhibit A to The Declaration of Nick            Entirety
                      8
                            S. Pujji In Support of Denise's Motion
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                            to Enforce Settlement, which contains
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                            communications between counsel for
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    ~O                      Denise and counsel for James D.
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~~a~                        McCool and Desert Jet Holdings, LLC
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o ~~~                       discussing the terms of the Agreement
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          a                 and the basis for Denise's Motion to
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   o¢                       Enforce Settlement.
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                            Exhibit B to The Declaration of Nick            Entirety
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                            S. Pujji In Support of Denise's Motion
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                            to Enforce Settlement, which contains
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                            communications between counsel for
                  20
                            Denise and counsel for James D.
                  21
                            McCool and Desert Jet Holdings, LLC
                  22
                            discussing the terms ofthe Agreement.
                  23
                            Exhibit C to The Declaration of Nick            Entirety
                  24
                            S. Pujji In Support of Denise's Motion
                  25
                            to Enforce Settlement, which contains
                  26
                            communications between counsel for
                  27
                            Denise and counsel for James D.
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         Case 5:~9-cv-02499-PSG-KK Document 126-3 Filed 04/14/21 Page 4 of 4 Page ID #:2161



             1
                  McCool and Desert Jet Holdings, LLC
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                  discussing the terms ofthe Agreement.
             3
                  Exhibit E to The Declaration of Nick                  Entirety
             4
                  S. Pujji In Support of Denise's Motion
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                  to Enforce Settlement, which contains
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                  communications between counsel for
             7
                  Denise and counsel for James D.
             8
                  McCool and Desert Jet Holdings, LLC
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                  discussing the terms of the Agreement
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                  and the basis for Denise's Motion to
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  so              Enforce Settlement.
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O Wv~            IT IS SO ORDERED.
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            i~   Dated:     `~~         ,2021              ~/          ~—
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 _ ~o       16                                                  Hon. Philip S. Gutierrez
 ~a                                                             U.S. District Court Judge
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